     Case 1:04-cr-00094-LG-JMR      Document 169      Filed 09/15/14   Page 1 of 2




               IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                        SOUTHERN DIVISION

UNITED STATES OF AMERICA

v.                                                CAUSE NO. 1:04CR94-LG-JMR-1

DEBORAH ANN KENNEDY

                       ORDER DENYING MOTION FOR
                     DISMISSAL OF GUN ENHANCEMENT

      BEFORE THE COURT is the Motion for Dismissal of Gun Enhancement

[167] filed by Deborah Ann Kennedy. In her Motion, Kennedy asks the Court to

reduce her sentence by removing the gun enhancement. She claims that she has

never owned a gun or had one in her possession. She also claims that she will not

be entitled to benefit from the recent revised base offense levels for drugs if the gun

enhancement is not removed from her sentence.

      This Court’s jurisdiction to correct or modify a defendant’s sentence is limited

to the following circumstances enumerated by Congress in 18 U.S.C. §3582(c): (1) if

the Director of the Bureau of Prisons moves for a reduction due to extraordinary

and compelling reasons or the age of the defendant; (2) if a statute or Fed. R. Crim.

P. 35 expressly permits a reduction; or (3) if the defendant has been sentenced to a

term of imprisonment based on a sentencing range that has subsequently been

lowered by the Sentencing Commission pursuant to 28 U.S.C. § 994(o).

Furthermore, Fed. R. Crim. P. 35 provides that the court may correct a sentence

that resulted from arithmetical, technical, or other clear error within fourteen days

after sentencing. It also permits the court to reduce a sentence upon the
    Case 1:04-cr-00094-LG-JMR      Document 169       Filed 09/15/14   Page 2 of 2




Government’s motion if the defendant provided substantial assistance in

investigating or prosecuting another person. Fed. R. Crim. P. 35.

      None of these circumstances exist with regard to Kennedy’s present Motion.

Therefore, the Court does not have jurisdiction to amend the defendant’s sentence.

by removing the gun enhancement.

      IT IS, THEREFORE, ORDERED AND ADJUDGED that the Motion for

Dismissal of Gun Enhancement [167] filed by Deborah Ann Kennedy is DENIED.

      SO ORDERED AND ADJUDGED this the 15th day of September, 2014.


                                              s/   Louis Guirola, Jr.
                                              Louis Guirola, Jr.
                                              Chief United States District Judge




                                        -2-
